       Case
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            2:12-cr-00119-MJP
              13-30077, 11/14/2016,
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                    UNITED STATES COURT OF APPEALS                          NOV 14 2016

                                                                        MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




UNITED STATES OF AMERICA,                        No.   13-30077

             Plaintiff-Appellee,                 D.C. No.
                                                 2:12-cr-00119-MJP-1
 v.                                              Western District of Washington,
                                                 Seattle
MICHAEL ALLAN DREYER,

             Defendant-Appellant.                ORDER



UNITED STATES OF AMERICA,                        No.   16-30166

             Plaintiff-Appellant,                D.C. No. 2:12-cr-00119-MJP
                                                 Western District of Washington,
 v.                                              Seattle

MICHAEL ALLAN DREYER,

             Defendant-Appellee.


Before: O’SCANNLAIN, KLEINFELD, and BERZON, Circuit Judges.

      The parties’ joint stipulation to dismiss these consolidated appeals and for

immediate remand is GRANTED. The copy of this order constitutes the mandate.
